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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF FLORIDA

                        CASE NO . 16-62902-CIV -ZLOCH

  WILLIAM MCLEOD ,

               Plaintiff,
  V S.                                                       O R D E R

  MONAKER GROUP, INC., f/k/a
  NEXT 1 INTERACTIVE , INC ., et al .,
               Defendants .
                                             /
         THIS MATTER is before the Court upon Defendant Pruzansky ,

  P.A .'s, Stipulation For Substitution Of Counsel (DE 50). The Court
  has carefully rev iewed said Stipulation , the entire court file and
  is otherwise fully advised in the premises .

         By the instant Stipulation (DE 50), Defendant Pruzansky, P.A .,
  adv ises the Court that he wishes to substitute Philip E . Ward,
  Esq ., Adam J . Hodkin , Esq m, and Jon K . Stage , Esq w of Hodkin Stage
  Ward, PLCC as his counsel of record .          He also moves the Court to

  allow the withdrawal of Evan D . Appell , Esq ., of GrayRob inson, PA .
         Accordingly , after due consideration , it is
         ORDEQRD ANn ADJUDGED as follows :
            Defendant Pru zansky , P .A .'s , Stipu lation For Sub stitution

  Of Counsel (DE 50) be and the same is hereby approved, adopted, and
  ratified ;
            Philip E . Ward , Esq w   Adam        Hodkin , Esq w   and Jon K .
  Stage, Esq ., of Hodkin Stage Ward , PLLC , be and the same are hereby
  SUBSTITUTED as the counsel of record for Defendant Pruzansky , P .A .;
         3 . Evan D . Appell, Esq ., of GrayRob inson , P .A ., be and the
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  same is hereby relieved of any further responsibility in the
  representation of Defendant Pruzansky , P .A ., in the above -styled
  cause ; and

           All future pleadings and papers to be served conventionally
  upon Defendant Pruzansky , P .A ., shou ld be directed to :
                Philip E . Ward , Esq w Adam J . Hodkin , Esq w
                            and Jon K . Stage, Esq .
                          Hodkin , Stage , Ward , PLCC
                             54 SW Boca Raton Blvd
                             Boca Raton , FL 33432


       DONE ANn ORDERED in C2hmbers at Fort Lauderdale, Broward
                       ?SLYeeday ofoctober 2017 .
  county , Florida, this                             ,



                                                 *



                                     WILLIAM J . ZLOCH
                                     Sr . United States District Judge

  Cop ies furnished :
  A11 Counsel of Record




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